Case 5:08-cr-50062-KES      Document 286       Filed 09/09/09   Page 1 of 12 PageID #: 903




                          UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION

 UNITED STATES OF AMERICA,                 )         CR. 08-50062-01 and -02
                                           )
             Plaintiff,                    )
                                           )           ORDER DENYING
    vs.                                    )       DEFENDANTS’ MOTION FOR
                                           )             SEVERANCE
 CONSTANTINE ROMANYSHYN,                   )
 aka CURT ROMANYSHYN, and                  )
 KENT HAZELRIGG,                           )

             Defendant.

                                   INTRODUCTION

          Defendant Kent Hazelrigg moved this court to sever the trial of his

 charges from that of his co-defendant, Curt Romanyshyn. See Docket No. 239.

 Mr. Romanyshyn also filed his own, separate motion to sever, in which he

 merely joins in Hazelrigg’s motion and does not assert any new arguments or

 authority. See Docket No. 271. After this filing, Mr. Hazelrigg then

 inexplicably filed a pleading indicating that he also joins Mr. Romanyshyn’s

 motion for severance, even though Mr. Romanyshyn’s motion relied entirely on

 Hazelrigg’s earlier motion. See Docket No. 276. The government resists these

 motions. Both motions were referred for decision to this magistrate judge by

 the Chief District Court Judge, the Honorable Karen E. Schreier pursuant to

 28 U.S.C. § 636(b)(1)(A). See Docket No. 265.
Case 5:08-cr-50062-KES   Document 286      Filed 09/09/09   Page 2 of 12 PageID #: 904




                                     FACTS

       Mr. Hazelrigg is charged in a superseding indictment1 filed with the court

 on May 19, 2009, with the crimes of conspiracy to distribute 500 grams or

 more of methamphetamine and possession of 50 grams or more of

 methamphetamine with the intent to distribute. See Docket No. 165, Counts I

 and II. Mr. Romanyshyn is charged in the same document with the same

 crimes. See id., Counts I and III. The methamphetamine conspiracy count is

 alleged to have been joined by Mr. Hazelrigg, Mr. Romanyshyn, as well as other

 unnamed co-conspirators. The conspiracy is alleged to have taken place in the

 District of South Dakota and elsewhere.

       The time frames alleged in the indictment for the conspiracy count are

 from August, 2007, through April, 2008. Both possession with intent to

 distribute counts are alleged to have taken place in February, 2008, in Rapid

 City, South Dakota.

       Both defendants now seek separate trials from each other on these drug

 conspiracy charges. The court denies those motions for the reasons discussed

 below.




       1
         Mr. Hazelrigg was originally charged with these same crimes involving
 methamphetamine in an indictment in which only he was named as a
 defendant in criminal case 08-50047. He was then subsequently charged
 jointly with Mr. Romanyshyn in the superseding indictment in this case and
 his former case was administratively closed.

                                        2
Case 5:08-cr-50062-KES   Document 286     Filed 09/09/09   Page 3 of 12 PageID #: 905




                                   DISCUSSION

       Mr. Hazelrigg argues that joinder of his case with that of

 Mr. Romanyshyn’s is Rule 14 of the Federal Rules of Criminal Procedure.

 However, it is unclear whether he also urges that joinder is improper under

 Fed. R. Crim. P. 8(b). For the sake of completeness, each of these arguments is

 addressed in turn.

 A.    Joinder of These Defendants is Proper Under Rule 8(b)

       Federal Rule of Criminal Procedure 8(b) provides as follows:

       Joinder of Defendants. The indictment or information may
       charge 2 or more defendants if they are alleged to have participated
       in the same act or transaction, or in the same series of acts or
       transactions, constituting an offense or offenses. The defendants
       may be charged in one or more counts together or separately. All
       defendants need not be charged in each count.

 See Fed. R. Crim. P. 8(b). The court has no discretion to deny severance of

 defendants who are not properly joined under Rule 8(b). See United States v.

 Bledsoe, 674 F.2d 647, 654 (8th Cir.), cert. denied sub nom, 459 U.S. 1040

 (1982). Misjoinder of defendants under Rule 8(b) is inherently prejudicial. Id.

 (citing United States v. Sanders, 563 F.2d 379, 382 (8th Cir. 1977), cert. denied,

 434 U.S. 1020 (1978); Haggard v. United States, 369 F.2d 968, 972-973 (8th

 Cir. 1966), cert. denied, 386 U.S. 1023 (1967); United States v. Marionneaux,

 514 F.2d 1244, 1248 (5th Cir. 1975); 8 Moore’s Federal Practice ¶ 8.04(2), at 14

 (2d ed. 1981)). The propriety of joinder under Rule 8(b) must appear on the

 face of the indictment. Bledsoe, 674 F.2d at 655; Sanders, 563 F.2d at 382.

                                         3
Case 5:08-cr-50062-KES    Document 286     Filed 09/09/09   Page 4 of 12 PageID #: 906




 The prerequisites for joinder of defendants under Rule 8(b) are to be liberally

 construed in favor of the defendant. Bledsoe, 674 F.2d at 655.

       The court concludes that Mr. Romanyshyn and Mr. Hazelrigg are

 properly joined under Rule 8(b). Indeed, the propriety of joinder of these

 defendants under Rule 8(b) seems beyond question. “Rule 8(b) requires that

 there be some common activity involving all of the defendants which embraces

 all the charged offenses even though every defendant need not have

 participated in or be charged with each offense.” Bledsoe, 674 F.2d at 656. “In

 order to be part of the ‘same series of acts or transactions,’ acts must be part of

 one overall scheme about which all joined defendants knew and in which they

 all participated.” Id. (citing United States v. McKuin, 434 F.2d 391, 395-396

 (8th Cir. 1970), cert. denied, 401 U.S. 911 (1971)).

       “Although a conspiracy count is not always essential for joinder of counts

 which do not all include every joined defendant, in the absence of such an

 allegation, other facts must be alleged which at least suggest the existence of

 an overall scheme encompassing all the defendants and all the charged

 offenses.” Bledsoe, 674 F.2d at 656-657. Thus, the court rejects the argument

 that joinder is improper under Rule 8(b). Both Mr. Hazelrigg and

 Mr. Romanyshyn are alleged to have participated in the same exact drug

 conspiracy. Both, in separate counts, are alleged to have distributed




                                          4
Case 5:08-cr-50062-KES     Document 286     Filed 09/09/09   Page 5 of 12 PageID #: 907




 methamphetamine in Rapid City, South Dakota, in February, 2008. These

 allegations are sufficient to satisfy Rule 8(b).

 B.    Severance is Not Warranted Under Rule 14

       Both defendants also argue that their trials should be severed from each

 other on the basis of Fed. R. Crim. P. 14. Once it is determined that

 defendants are properly joined under Rule 8(b), “[t]he presumption against

 severing properly joined cases is strong.” United States v. Ruiz, 412 F.3d 871,

 886 (8th Cir. 2005). “Under Fed. R. Crim. P. 14(a), the issue of severance is

 entrusted to the sound discretion of the trial judge.” United States v. Hively,

 437 F.3d 752, 765 (8th Cir. 2006) (internal quotation omitted).

       Even if joinder of two or more defendants is proper under Rule 8(b), the

 court may sever the defendants’ trials under Fed. R. Crim. P. 14 if joinder of

 the defendants appears to prejudice a defendant or the government. United

 States v. Davis, 534 F.3d 903, 916 (8th Cir. 2008). The fact that a defendant is

 alleged to have played a small role in the overall scheme or conspiracy is not

 dispositive of whether severance should be granted. United States v. Anthony,

 565 F.2d 533, 538 (8th Cir. 1977).

       A defendant who seeks severance under Rule 14 must show “real

 prejudice.” Davis, 534 F.3d at 916. “Real prejudice” consists in showing

 (1) that the moving defendant’s defense “is irreconcilable with that of his co-

 defendant or (2) the jury will be unable to compartmentalize the evidence as it


                                           5
Case 5:08-cr-50062-KES    Document 286     Filed 09/09/09   Page 6 of 12 PageID #: 908




 relates to the separate defendants.” Id. at 916-917 (quoting United States v.

 Mickelson, 378 F.3d 810, 817-818 (8th Cir. 2004)).

       “Severance is not required merely because evidence that is admissible

 only against some defendants may be damaging to others, . . .” Mickelson, 378

 F.3d at 818. “Generally, the risk that a joint trial will prejudice one or more of

 the defendants ‘is best cured by careful and thorough jury instructions.’ ”

 Davis, 534 F.3d at 916-917 (quoting Mickelson, 378 F.3d at 818; and citing

 Zafiro, 506 U.S. at 537).

       The primary argument in this case in favor of severance appears to be

 the argument that the accumulation of evidence if both defendants are tried

 together will make it more likely that each will be convicted. In United States

 v. Delpit, seven defendants were tried together on, inter alia, drug conspiracy

 charges, which did not apply as to one defendant, and a murder-for-hire

 charge that did not apply to two of the defendants. United States v. Delpit, 94

 F.3d 1134, 1142-1143 (8th Cir. 1996). The court held that trial of the two

 defendants who were not involved in the murder-for-hire scheme along with the

 defendants who were involved in the scheme was not an abuse of discretion.

 Id. The court observed that, “[i]t doesn’t matter that Larry Thomas and Jai

 Jones had nothing to do with the murder-for-hire plot, or that Delpit was not

 indicted for the drug conspiracy. . . . when violence is part of the conspiracy’s

 modus operandi, ‘charges stemming from that violence are properly joined with


                                          6
Case 5:08-cr-50062-KES    Document 286     Filed 09/09/09   Page 7 of 12 PageID #: 909




 the conspiracy charges, even if not all members of the conspiracy participated

 in the violence.’” Id. at 1143. The Delpit court specifically rejected the

 argument of one self-described “minor player” defendant that he was

 prejudiced by the “spillover taint of the murder-for-hire charges” which did not

 pertain to him. Id.

       In United States v. Jones, 880 F.2d 55 (8th Cir. 1989), the Eighth Circuit

 decided the propriety of a joint trial of multiple defendants who were all

 charged with participating in the same drug distribution conspiracy. Id. at 62.

 The court, citing the proposition that co-conspirators should in the usual case

 be tried together, held that no error had occurred. Id. at 62-64. Specifically,

 the court found that joinder under Rule 8(b) was proper, and that defendants

 had not successfully shown that any real prejudice occurred due to being tried

 together. Id.

       Under the Jones and Delpit cases, neither Mr. Hazelrigg nor

 Mr. Romanyshyn have presented sufficient argument or authorities to grant

 severance on the basis of accumulation of evidence.

       The defendants also argue that no “credible” evidence exists that will

 show that both defendants conspired together to commit a crime. Motions to

 sever, as stated above, are decided on the basis of the face of the indictment.

 This court is not authorized to weigh evidence and decide matters of credibility

 en route to deciding a motion to sever. In any event, neither defendant has


                                          7
Case 5:08-cr-50062-KES    Document 286     Filed 09/09/09   Page 8 of 12 PageID #: 910




 informed the court what the “incredible” evidence is that links them, or why

 that evidence is not creditable.

       Both defendants state that, if they are tried separately, they will each

 testify in the other’s trial that, to their knowledge, the other was not involved in

 the drug conspiracy. The court finds this assertion speculative. Certainly, if

 severance was granted and Mr. Hazelrigg’s trial took place first,

 Mr. Romanyshyn would face the same difficult choice about whether to take

 the witness stand as he would if it were his own trial because of the possibility

 of self-incrimination on as-yet unresolved criminal charges: i.e. in order to

 testify that one has no knowledge of another’s lack of participation in a drug

 conspiracy, one would first have to establish that one was familiar enough with

 that drug conspiracy to be able to testify “he was not a member.” This would

 tend to incriminate the person so testifying. If Romanyshyn’s trial took place

 first, Hazelrigg would be on the horns of the same dilemma. Therefore, even if

 severance were granted, there is a very real possibility that neither defendant

 would help the other out by testifying at their respective trials in any event.

       The Mickelson case supports a finding that severance is inappropriate in

 this case. The defendant in that case asserted that his co-defendant would

 testify if their trials were severed. Mickelson, 378 F.3d at 818. The court noted

 that, before severance could be granted, the defendant must show that his co-

 defendant’s testimony would be “substantially exculpatory.” Id. In that case,


                                          8
Case 5:08-cr-50062-KES    Document 286      Filed 09/09/09   Page 9 of 12 PageID #: 911




 the co-defendant agreed that, if he were called to testify, he would state that

 “there was no conspiracy or agreement of any kind to manufacture

 methamphetamine.” Id. The Eighth Circuit concluded that this testimony was

 not “substantially exculpatory” because it was merely a legal conclusion

 without facts to support it. Id.

       The proffered testimony of Mr. Romanyshyn and Mr. Hazelrigg in the

 present case is on a similar plane. They each offer up the conclusory

 statements that, “to his knowledge,” the other did not participate in a

 conspiracy to distribute methamphetamine Even if this testimony were given,

 it is not “substantially exculpatory.” Mikelson, 378 F.3d at 818. As the

 government points out in its responsive brief, the law of criminal conspiracies

 is such that the government need not prove that each participant in the

 conspiracy knew of each other, or knew of all the actions of each other, in order

 to be found guilty of participating in the conspiracy. The court will not grant

 severance on the possibility that each defendant would present such beneficial

 testimony at the other’s trial if the trial was separate.

       The defendants raise the specter of Bruton v. United States, 391 U.S.

 123 (1968), without articulating any facts in support of a Bruton argument.

 The holding in Bruton is that when a statement of “Defendant Number One,” a

 non-testifying defendant, is entered into evidence at a joint trial, and that out-

 of-court statement of Defendant One also implicates “Defendant Number Two,”


                                           9
Case 5:08-cr-50062-KES    Document 286     Filed 09/09/09   Page 10 of 12 PageID #: 912




  the confrontation rights of Defendant Two are violated because he has no

  opportunity to confront and cross-examine Defendant One about the

  statement. Id. at 136-37. Neither defendant identifies an out of court

  statement made by either of them that might be admitted at trial and would

  implicate the other. Indeed, given each defendant’s offer to testify that he had

  no knowledge of the other’s participation in the drug conspiracy, it would seem

  impossible that there might be a statement out there incriminating the other

  defendant. Without proper support and explanation of the Bruton argument,

  the court denies severance on this ground.

        Similarly, the defendants argue that “if” the other’s defense is to blame

  him at trial, then they will be presenting mutually antagonistic defenses.

  Again, this is speculative, because neither defendant informs the court what

  his defense at trial is going to be. However, given each defendant’s offer to

  testify that neither knew of the other’s participation in the conspiracy, the

  court is left to wonder how a defense that blames the other could be presented.

  Severance will not be granted on this ground.

        Once the court concludes that joinder of defendants is proper under Rule

  8(b), a defendant has a “heavy burden” to demonstrate that severance is

  necessary under Rule 14 because he cannot otherwise obtain a fair trial.

  United States v. Flores, 362 F.3d 1030, 1039-40 (8th Cir. 2004); United States

  v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996). The movant must demonstrate


                                          10
Case 5:08-cr-50062-KES     Document 286     Filed 09/09/09   Page 11 of 12 PageID #: 913




  severe or compelling prejudice. Flores, 362 F.3d at 1039 (citing United States

  v. Pherigo, 327 F.3d 690, 693 (8th Cir.), cert. denied, 539 U.S. 969 (2003)).

  The court finds that neither defendant has carried this “heavy burden.” The

  court accordingly denies both motions to sever.

                                    CONCLUSION

        Good cause appearing, it is hereby

        ORDERED that Kent Hazelrigg’s motion for severance [Docket No. 239] is

  denied. It is further

        ORDERED that Curt Romanyshyn’s motion for severance [Docket No.

  271] is denied.

                          NOTICE OF RIGHT TO APPEAL

        Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

  of this order before the district court upon a showing that the order is clearly

  erroneous or contrary to law. See Fed. R. Crim. P. 59(a). The parties have ten

  (10) days after service of this order to file written objections pursuant to 28

  U.S.C. § 636(b)(1), unless an extension of time for good cause is obtained. See

  Fed. R. Crim. P. 58(g)(2), 59. Failure to file timely objections will result in the

  waiver of the right to appeal questions of fact. Fed. R. Crim. P. 59(a).




                                           11
Case 5:08-cr-50062-KES    Document 286     Filed 09/09/09   Page 12 of 12 PageID #: 914




  Objections must be timely and specific in order to require review by the district

  court.

           Dated September 9, 2009.

                                 BY THE COURT:


                                 /s/   Veronica L. Duffy
                                 VERONICA L. DUFFY
                                 UNITED STATES MAGISTRATE JUDGE




                                          12
